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                               Attorneys for Defendant
                       7       CITY OF HENDERSON
                       8
                                                                UNITED STATES DISTRICT COURT
                       9
                                                                     DISTRICT OF NEVADA
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                    11         KELLY WOODBURN and THOMAS                        Case No. 2:19-cv-01488-JAD-VCF
                               WOODBURN, individually and on behalf
                    12         of all others similarly situated,                STIPULATION AND ORDER FOR AN
                                                                                EXTENSION OF TIME TO FILE THE
                    13                            Plaintiffs,                   DISCOVERY PLAN AND SCHEDULING
                                                                                ORDER
                    14         vs.
                                                                                (First Request)
                    15         CITY OF HENDERSON; DOES I through
                               V, inclusive; and ROE CORPORATIONS
                    16         I through V, inclusive,

                    17                            Defendants.

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                    19                  Plaintiffs KELLY WOODBURN and THOMAS WOODBURN, and Defendant CITY OF

                    20         HENDERSON ("Defendant"), by and through their respective counsel of record, do hereby stipulate

                    21         and request an order extending the time for the parties to file a Discovery Plan and Scheduling Order

                    22         by two weeks from the current deadline of October 20, 2020 up to and including November 3, 2020.

                    23                  The parties have engaged in initial discussions regarding their respective positions on

                    24         discovery in this matter but they need additional time to formulate their plan before submitting it to

                    25         the Court. Additionally, Plaintiffs’ counsel recently changed firms as noted in [ECF No. 23] which

                    26         led to increased administrative responsibilities for Plaintiffs’ counsel over the past weeks.

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                       1              The parties agree and represent to the Court that this request is made in good faith and not for

                       2       the purpose of delay.

                       3       Dated: October 19, 2020                         Dated: October 19, 2020
                       4
                               CLAGGETT & SYKES LAW FIRM                       LITTLER MENDELSON, P.C.
                       5

                       6       By:_/s/ Joseph N. Mott_______________           By:_/s/ _Ethan D. Thomas______
                                   JOSEPH N. MOTT, ESQ.                           MONTGOMERY Y. PAEK, ESQ.
                       7                                                          ETHAN D. THOMAS, ESQ
                       8           Attorneys for Plaintiffs
                                   KELLY WOODBURN and THOMAS                        Attorneys for Defendant
                       9           WOODBURN                                         CITY OF HENDERSON

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                                                                                    ORDER
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                    13                                                              IT IS SO ORDERED.

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                                                                                    _____________________________________
                    15                                                              UNITED STATES MAGISTRATE JUDGE
                    16                                                                      10-19-2020
                                                                                    DATED: _____________________
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